            Case 3:16-bk-02232-PMG           Doc 55     Filed 03/25/19          Page 1 of 24




                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                JACKSO     I,E DIVISION

In re:                                               Chapter I I

PREMIER EXHIBITIONS, INC., et al.,r                  Case   No.   3 :1   6-bk-223 2-PMG

                      Debtors.                       Jointly Administered

       OFFICIAL COMMITTEE OF UNSECURED CREDITORS' AMENDED2
 MOTION TO ALTETUAMEND ORDERS APPROVING EMPLOYMENT/RBTENTION
  OF ROBERT CHARBONNEAU AND JASON S. MAZER AND THEIR RESPECTIVE
           W FIRMS AS S             TO RESPONSIBLE

         On March 14,2019, the Court entered orders (ECF Nos. 1338-39) ("Employment

Orders") approving the unopposed applications to employ/retain Robert Charbonneau and Jason

S. Mazer and their respective law firms, Agentis PLLC and Cimo Mazer Mark, PLLC, as special

counsel   to Mark C.       Healy, as responsible person (contemplated liquidating                trustee)

("Responsi,ble Pe.rson")   in the adversary proceeding commenced by the (disbanded) Official

Committee of Equity Security Holders, MarkC. Healyv. MarkA. Sellers, et al., No, l8-ap-64'

PMG ("Adversary Proceeding").3 By this motion, the Official Committee of                       Unsecured

Creclitors ("Committee") requests entry of amended Employment Orders, in the form annexed

hereto as Exhibits 1-2, striking certain changes made by Mr. Charbonneau, without notice to the


I
  The Debtors in the chapter 11 cases, along with the last four digits of each Debtor's Federal tax
identification number, are: Premier Exhibitions, Inc. G922); Premier Exhibition Management
LLC (3101); Arts and Exhibitions International, LLC (3101); Premier Exhibitions International,
LLC (5075); Premier Exhibitions NYC, lnc. (9246); Premier Merchandising, LLC (3867); and
Dinosaurs Unearthed Corp. (7309). Their service address is cio Troutman Sanders LLP, 600
Peachtree Street NE, Suite 3000, Atlanta, Georgia 30308.

2 Amended to include Exhibits 3    and 4   which were inadvertently omitted at the original time of
filing.
3
 Citations by ECF No. to filed documents refers to those filed in In re RMS Titanic, Inc., Case
No. 3:16-bk-2230-PMG.
             Case 3:16-bk-02232-PMG          Doc 55   Filed 03/25/19    Page 2 of 24




Court or the parties, to Paragraph 6 of the Agentis Employment Order and Paragraph 5 of the

Cimo Mazer Mark Employment Order prior to submission of the same to the Court,                and


changing the caption to both orders, pursuant to Rule 59(e), made applicable by Rule 9023. In

support of this motion, the Committee respectfully states as follows:

                                         BACKGROUND

        l.     This is the second motion necessitated by Mr. Charbonneau's submitting

proposed orders marked as he sees fit, as opposed to as reflected on the record or as annexed to

the relevant motion. (See general/y ECF No. 1294, Debtors' Motion to Vacate Document

Retention Protocol Order.)

       2.      On February 12,2019, Mr. Charbonneau filed applications to employ himself and

Agentis,andMr.Mazer andCimoMazer Mark(ECFNos. 1312, l3l4),inbothcasesasco-

special litigation counsel to the Responsible Person in the Adversary Proceeding, pursuant to

Bankruptcy Code section32T(e). The applications annexed proposed forms of order granting the

relief requested therein as Exhibit A thereto.

        3.     No objection to the applications was filed or raised at the March 5,2019 hearing

to consider the same.

       4.      The hearing proceeding memo (ECF No. 1333) provided for approval of the

applications, and directed Mr. Charbonneau to upload proposed orders, pursuant to Local Rule

9072-1.

        5.      Instead of uploading the proposed orders annexed to the applications, however,

Mr. Charbonneau made material modifications to the same, without notice to the Court at the

hearing, or to other parties. Material changes include: (a) adding the following to Paragraph 6 of

the Agentis proposed order: "Agentis may also apply for compensation and reimbursement of




                                                 2
            Case 3:16-bk-02232-PMG             Doc 55    Filed 03/25/19    Page 3 of 24




costs, pursuant to   ll   U.S.C. $$ 330 and 331, at its ordinary rates, as they may be adjusted from

time to time, for services rendered and costs incurred on behalf of the Responsible Person"; and

(b) adding the following to Paragraph 5 of the Cimo Mazer Mark proposed order: ooCMM may,

in its sole and absolute discretion, advance payment of litigation related costs pertaining to   the

Adversary Proceeding or D&O Claims, but the bankruptcy estate shall be responsible for the

reimbursement and/or payment of all expert witness and consulting fees and costs, mediation

fees and costs, and any and all other normal and customary out-of-pocket expenses incurred in

connection with the professional services provided hereunder, including but not limited to travel,

court reporter fees, printing, photocopy costs, administrative, and other costs, as permitted."

Blacklines highlighting differences between the proposed orders annexed to the applications, and

the Employment Orders ultimately entered, are annexed hereto as Exhibit 3-4.

                                             ARGUMENT

       6.      The above-described changes should be unwound. In addition to having been

made without notice, the above-described change to Paragraph 6 of the Agentis proposed order

makes no sense, not just because Mr. Charbonneau represented that the Adversary Proceeding is

being prosecuted on a pure contingency fee basis (ECF No. 1312, \n22-24; ECF No. l3 14, n17),

but also because Paragraph          4 of the Agentis    Employment Order provides: "[t]he total

compensation for Co-Special Litigation Counsel shall be a forty percent (40%) contingency fee

of any insurance proceeds or other funds recovered ..." (emphasis added) and Paragraph4 of the

Cimo Mazer Marks Employment Order provides for said contingency fee to be split equally

between   it and Agentis. This language      precludes hourly fees, putting aside the impropriety   of

contingency counsel applying for hourly fees should the Adversary Proceeding prove a bust.




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                                                    J
                 Case 3:16-bk-02232-PMG        Doc 55     Filed 03/25/19      Page 4 of 24




        7.         The above-described change to Paragraph 5 of the Cimo Mazer Mark proposed

order   is unnecessary and inappropriate, as Paragraph 5 of the proposed order already
contemplated the firm's seeking the reimbursement of actual, necessary expenses pursuant to

Bankruptcy Code sections 330-31.

        8.         In addition, the caption of both orders should also be conected to conform to that

required by the Order dismissing RMS Titanic, Inc.'s bankruptcy case. (ECF No. 1336, fl4.)

        9.         Rule 59(e) authorizes a motion to alter or amend a judgment after its entry.

        10.        "Rule 59(e) provides no specific grounds for relief." Goldring v. Lamdin,No.

8:04-cv-2798, 2006 WL 5669878, al * l (M.D. Fla. Nov. 20, 2006).

        1   l.     "The decision to alter or amend judgment is committed to the sound discretion of

the district judge." Am. Home Assur. Co. v. Glenn Estess & Assocs,, lnc.,763 F.2d 1237,1238-

39 (l lth   cir. 1985),
            12.    This motion is not one for reconsideration, under which the grounds for relief are

restricted. E.g., Sussman v. Salem, Saxon & Nielson, P.A., 153 F.R.D. 689,694 (M.D. Fla. 1994)

(the "three major grounds justifying reconsideration [are]            (l)   an intervening change in

controlling law; (2) the availability of new evidence; (3) the need to correct clear error or prevent

manifest injustice"). The Committee merely wishes to unwind certain changes to the proposed

orders made by Mr. Charbonneau without notice.

            13.    Pursuant   to Local Rule 9072-l(d) the foregoing     requested changes have been

flagged in Footnote 2 to the proposed amended Employment Orders annexed hereto.




                                                     4
              Case 3:16-bk-02232-PMG     Doc 55    Filed 03/25/19     Page 5 of 24




       WHEREFORE, the Court should enter amended Employment Orders,               in the form

annexed hereto, and grant the Committee such other and further relief as the Court deems just

and proper.

Dated: March 21,2019                              Jeffrey Chubak (admitted pro hac vice)
                                                   STORCH AMINI PC
                                                   140 East 45th Street, 25th Floor
                                                  New York, New York 10017
                                                   (212) 4e0-4100
                                                   (21 2) 49 0 -420 8 (Facsimile)
                                                  j chubak@storchamini. com


                                                  -and-

                                                  THAMES MARKEY & HEEKINO P'A'

                                                  By: /s/ Rohert A.        Jr
                                                          Robert A. Heekin, Jr.

                                                  Florida Bar No. 652083
                                                  50 North Laura Street, Suite 1600
                                                  Jacksonville, Florida 32202
                                                  (e04) 3s8-4000
                                                  (904) 358-4001 (Facsimile)
                                                  rah@tmhlaw.net

                                                  Attorneys for the Official Committee of
                                                  Unsecured Creditors




                                              5
               Case 3:16-bk-02232-PMG        Doc 55     Filed 03/25/19      Page 6 of 24




                                       Certificate of Seryice


         I   hereby certify that on March 25,2019, the foregoing pleading was transmitted to the

Clerk of the Court for uploading to the Case Management/Electronic Case Files System, which

will   send a notice of electronic filing to all parties who have consented to receiving electronic

notifications in this case. In accordance with the Court's Order Granting Debtors: Motion for an

Order Pursuant to 11 U.S.C. $ 105(a) and Rule 2002 Establishing Notice Procedures lDocket No,

1401, copies     of the foregoing were also furnished on March 25, 2019 by U.S. Mail,      postage

prepaid to the parties listed on the Master Service List attached hereto.




                                                      /s/ Robert A. Heekin, Jr.

                                                                Attorney




                                                  6
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A-l   Storage and Crane                       ABC Imaging                                       A.N. Deringer, Inc.
2482 l97th Avenue                             l4East 38th Street                                PO Box I 1349
Manchestsr, IA 52057                          New York, NY 10017                                Succursale Centre-Ville
                                                                                                Montreal, QC H3C 5Hl




ATS, Inc.                                     Broadway Video                                    CBS Outdoor/Outfront Media
1900 W. Anaheim Street                        30 Rockefeller Plaza                              185 US Highway 48
Long Beach, CA 908 I 3                        54th Floor                                        Fairfield, NJ 07004
                                              New York, NY I 0l I 2




Dentons Canada LLP                            Enterprise Rent-A-Car Canada                      Expedia, Inc.
250 Howe Street, 20th Floor                   709 Miner Avenue                                  10190 Covington Cross Drive
Vancouver, BC V6C 3R8                         Scarborough, ON MIB 686                           Las Vegas, NV 89144




George Young Company                          Gowlings                                          Hoffen Global Ltd,
509 I'leron Drive                             550 Burrard Street                                305 Crosstree Lane
Swedesboro. N.l 08085                         Suite 2300, Bental 5                              Atlanta, CA 30328
                                              Vancouver, BC V6C 285




Kirvin Doak Communications                    MNP LLP                                           Morris Visitor Publications
5230 W. Patrick Lane                          15303 - 3lst Avenue                               PO Box 1584
Las Vegas, NV 891 l8                          Suite 301                                         Augusta, GA 30903
                                              Surrey, BC V3Z 6X2




NASDAQ Stock Market, LLC                      National Ceographic Society                       NYC Dept. of Finance
805 King Farm Blvd.                           I I45 - I 7th Avenue NW                           PO Box 3646
Rockville, MD 20850                           Washington, DC 20036                              New York, NY 10008




PacBridge Limited Partners                    Pallet Rack Surplus, Inc.                         Ramparts, lnc.
22lF Fung House                               l98l Old Covington Cross Road NE                  d/b/a Luxor Hotel and Casino
l9-20 Connaught Road                          Conyers, GA 30013                                 3900 Las Vegas Blvd. South
Central Hong Kong                                                                               Las Vegas,   NV 891 l9




Screen Actors Guild                           Seaventures, Ltd.                                 Sophrintendenza Archeologica
I900 Broadway                                 5603 Oxford Moor Blvd                             di Napoli e Pompei
5th Floor                                     Windemere, FL34786                                Piazza Museo l9
New York, NY 10023                                                                              Naples, ltaly 80135




Syzygy3, lnc.                                 Time Out New York                                 TPL
23 I West 29th Street                         405 Park Avenue                                   3340 Peachtree Road
Suite 606                                     New York, NY 10022                                Suite 2140
New York, NY     10001                                                                          Atlanta, CA 30326




TSX Operating Co.                             Verifone, Inc.                                    Samuel Weiser
70 West 40th Street                           300 S. Park Place Blvd                            565 Willow Raod
9th Floor                                     Clearwater, FL 33759                              Winnetka, lL 60093
New York, NY l00l       8
                              Case 3:16-bk-02232-PMG         Doc 55         Filed 03/25/19   Page 8 of 24


WNBC - NBC Universal Media                    United States Attorney's Qffice                  Jonathan B. Ross, Esq.
30 Rockefeller Center                         Middle District of Florida                       Gowling WLG (Canada) LLP
New York, NY     l0l l2                       300 N, Hogan Street, Suite 700                   550 Bunard street, Suite 2300, Bentall 5
                                              Jacksonville, FL32202                            Vancouver, BC V6C 285




Christine R. Etheridge, Esq.                  TSX Operating Co' LLC                            Dallian Hoffen Biotechnique Co., Ltd.
Bankruptcy Adminishation                      c/o James Sanna                                  claEzra B. Jones
Wells Fargo Vendor Financial Services, LLC    70 W.40th Street                                 305 Crosstree Lane
PO   Box 13708                                New York, NY 10018                               Atlanta, GA 30328
Macon, GA 3 1208



B.E. Capital Management Fund LP
Thomas Branziel
205 East 42nd Street , I 4th Floor
New York, NY 10017
Case 3:16-bk-02232-PMG   Doc 55    Filed 03/25/19   Page 9 of 24




                         EXHIBIT   1



         Proposed Amended Agentis Employment Order
             Case 3:16-bk-02232-PMG          Doc 55       Filed 03/25/19      Page 10 of 24




                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                 JACKSONVILLE DIVISION

    In re:                                             Chapter I I

    PREMIER EXHIBITIONS, INC., et al.,r                Case No. 3:l 6-bk-2232-PMG

                           Debtors.                    Jointly Administered

              AMENDED2 FINAL ORDER APPROVING RESPONSIBLE
           PERSON'S APPLICATION TO (I) APPROVE DMPLOYMENT OF
        ROBERT P. CHARBONNEAU, ESQ. AllD THE LAW FIRM OF AGENTIS
       PLLC AS SPECIAL LITIGATION COUNSEL, (II) MODIFY THE TERMS OF
     SAID EMPLOYMENT, AND (IID APPROVE THE TERMS OF THB AGREEMBNT
    BETWBEN ROBERT P. CHARBONNBAU, ESQ. AND THE LAW FIRM OF AGENTIS
      PLLC AND JASON S. MAZER, ESQ. AND THE LAW FIRM OF CIMO MAZER
               MARK. PLLC AS CO-SPECIAL LITIGATION COUNSEL

             THIS MATTER came before the Court for hearing on March 5,2019 at I l:00 a.m. upon

the Responsible Person's     Application (I) to Approve Employment of Robert P. Charbonneau, Esq.,

and the Lcnt, Firm of Agentis, PLLC, as Special Litigation Counsel to the Responsible Person; (II)

to Modify the Terms of Said Employment; and     (lll   to Approve the Terms of the Agreement Between


Robert P. Charbonneau, Esq., and the Law Firnt of Agentis, PLLC, and,Iason S. Mazer, Esq,, and

the Law Firnt of Cimo Mszer Mark, PLLC, as Co-Special Litigation Counsel IECF #1312]



I The Debtors in the chapter II cases, along with the last four digits of each Debtor's Federal tax
identification number, are: Premier Exhibitions, Inc, $922); Premier Exhibition Management
LLC (3101); Arts and Exhibitions International, LLC (3101); Premier Exhibitions International,
LLC (5075); Premier Exhibitions NYC, lnc. (9246); Premier Merchandising, LLC (3867); and
Dinosaurs Unearthed Corp. (7309). Their service address is c/o Troutman Sanders LLP, 600
Peachtree Street NE, Suite 3000, Atlanta, Georgia 30308.

IThis amended order amends the initial order IECF # 1338] to change the caption [per ECF # I 336]
and delete the following sentence from Paragraph 6 of the initial order: "Agentis may also apply
for compensation and reimbursement of costs, pursuant to I I U.S.C. $S 330 and 33 I, at its ordinary
rates, as they may be adjusted from time to time, for services rendered and costs incurred on behalf
of the Responsible Person."
          Case 3:16-bk-02232-PMG           Doc 55      Filed 03/25/19       Page 11 of 24




(the "Application").,3 and the Court, having reviewed the Application and the attached affidavit in

support thereof, and finding that Robert P. Charbonneau, Esq. and the law firm of Agentis PLLC

represent no interest adverse to the Responsible Person or the estate in the matters upon which the

attorneys are to be engaged, that the   joint litigation of the D&O Claims by Agentis and Cimo

Mazer Mark is in the best interests     of the   estate and the creditors, and that modifying the

Contingency Fee is reasonable and practical under the circumstances, is authorized to grant the

relief requested in the Application pursuant to Sections 327(e),328(a), and 330 ofthe Bankruptcy

Code and Bankruptcy Rule     2014.   Based on the foregoing findings, good and sufficient cause

exists to grant the relief set forth herein and requested in the Application, and the Court ORDERS

as   follows:

          l.    The Application is GRANTED on a final basis.

          2.    The Court approves the Responsible Person's retention of Robert P. Charbonneau,

Esq., and the law firm of Agentis PLLC, as Co-Special Litigation Counsel. Agentis is authorized

to render those same services approved in the Employment Order on behalf of the Responsible

Person.

          3.    Upon an order granting the Responsible Person's application to employ Jason        S.


Mazer, Esq. and the law firm of Cimo Mazer Mark, PLLC, the Court approves the joint pursuit        of

the   D&O Claims by Agentis and Cimo Mazer Mark      as Co-Special   Litigation Counsel to prosecute,

and, if appropriate, settle the D&O Claims, as permitted under the Standing Order.

          4.    The total compensation for Co-Special Litigation Counsel shall be a forfy percent

(40%) contingency fee of any insurance proceeds or other funds recovered in the pursuit of the



3 Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in
the Application.
        Case 3:16-bk-02232-PMG               Doc 55    Filed 03/25/19       Page 12 of 24




D&O Claims, regardless of whether Co-Special Litigation Counsel is required to take the matter

to trial. The increase of the contingency fee to forfy percent (40%) from the thirty-five percent

(35%) set forth in the Employment Order shall become effective immediately.

       5.      This Court approves Agentis's and Cimo Mazer Mark's agreement to equally share

any Contingency Fee recovered in the Adversary Proceeding, regardless of how such funds are

obtained. For the avoidance of doubt, the 40% contingency fee shall be divided equally between

Agentis, on the one hand (20Yo of the Contingency Fee), and Cimo Mazer Mark, on the other hand

(20oh of the Contingency Fee).

       6.       If costs are incurred by either Agentis or Cimo Mazer Mark, those finns may seek

reimbursement of those costs from the estate or any other source of payment there may be. If the

costs rernain unpaid, neither firm shall be required to further advance costs.

       1.       The Court shall retain jurisdiction to hear and determine all matters arising from or

related to the implementation of this Order.

                                                 ###

Submitted by:
Robert P. Charbonneau
Agentis PLLC
Co-Special Litigation Counsel   for   the Responsible Person
55 AlhambraPlaza, Suite 800
Coral Gables, FL 33134
305.722.2002
rpc@agentislaw.com

Copy to: Attorney Charbonneau, who is directed to serve a copy of this order on interested
parties who do not receive service by CM/ECF and file a proof of service within three days     of
entry ofthe order.
Case 3:16-bk-02232-PMG   Doc 55    Filed 03/25/19   Page 13 of 24




                         EXHIBIT   2

      Proposed Amended Cimo Mazer Mark Employment Order
             Case 3:16-bk-02232-PMG         Doc 55     Filed 03/25/19       Page 14 of 24




                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                 JACKSONVILLE DIVISION

    In re:                                           Chapter   ll
    PREMIER EXHIBITIONS, INC., et al.,r              Case No.   3 : 1 6-6b-2232-PMG


                           Debtors.                  Jointly Administered

            AMBNDED2 FINAL ORDER APPROVING RESPONSIBLE PERSON'S
         APPLICATTON TO APPROVE EMPLOYMENT OF JASON S. MAZBR, ESQ.
          AND THB LAW FIRM OF CIMO MAZER MARK, PLLC, AS CO-SPBCIAL
               LITIGATION COUNSEL TO THE RBSPONSIBLE PBRSON

             THIS MATTER came before the Court for hearing on March 5,2019 at I I :00 a.m. upon

the Responsible Person's Application to Approve Employment of ,Iason S. Mazer, Esq., and the

Lcn, Firm of Cimo Mazer Mark, PLLC, as Co-Special Litigation Counsel to the Responsible

Person IECF #1314] (the "Applicatiqn"),3 and the Court, having reviewed the Application, the

affidavit filed in support thereof IECF #1316], and finding that Jason S. Mazer, Esq. and the law

firm of Cimo Mazer Mark, PLLC represent no interest adverse to the Responsible Person or the



I The Debtors in the chapterll cases, along with the last four digits of each Debtor's Federaltax
identification number, are: Premier Exhibitions, Inc. $922); Premier Exhibition Management
LLC (3101); Arts and Exhibitions International, LLC (3101); Premier Exhibitions International,
LLC (5075); Premier Exhibitions NYC, Inc. (9246); Premier Merchandising, LLC (3867); and
Dinosaurs Unearthed Corp. (7309). Their service address is c/o Troutman Sanders LLP, 600
Peachtree StreetNE, Suite 3000, Atlanta, Georgia 30308.

2
 This amended order amends the initial order [ECF # 1339] to change the caption [per ECF # 1336]
and delete the following sentence from Paragraph 5 ofthe initial order: "CMM may, in its sole and
absolute discretion, advance payment of litigation related costs pertaining to the Adversary
Proceeding or D&O Claims, but the bankruptcy estate shall be responsible for the reimbursement
and/or payment of all expert witness and consulting fees and costs, mediation fees and costs, and
any and all other normal and customary out-of-pocket expenses incurred in connection with the
professional services provided hereunder, including but not limited to travel, court reporter fees,
printing, photocopy costs, administrative, and other costs, as permitted."
I Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in
the February 12,2019 Application,
         Case 3:16-bk-02232-PMG             Doc 55      Filed 03/25/19       Page 15 of 24




estate in the matters upon which the attorneys are to be engaged, and that their employment is in

the best interests of the estate and the creditors, is authorized to grant the relief requested in the

Application pursuant to Sections 327(e),328(a), and 330 of the Bankruptcy Code and Bankruptcy

Rule 2014. Based on the foregoing findings, good and sufficient cause exists to grantthe relief set

forth herein and requested in the Application, and the Court ORDERS as follows:

        L      The Application is GRANTED on a final basis.

        2.     The Court approves the Responsible Person's retention of Jason S. Mazer, Esq.,

and the law firm       of Cimo Mazer Mark, PLLC, as Co-Special Litigation           Counsel for the

Responsible Person.

        3.     As Co-Special Litigation Counselwith Agentis, Cimo Mazer Mark is authorized to

render the services authorized in the order approving the Agentis Application,

        4.      As Co-Special Litigation Counsel, this Court approves equal allocation to Agentis

and Cimo Mazer Mark of any Contingency Fee recovered in connection with the Adversary

Proceeding or D&O Claims, regardless of how such funds are obtained .The        40%o   contingency fee

shall be allocated equally between Agentis, on the one hand (20% of the Contingency Fee), and

Cimo Mazer Mark, on the other hand (20% of the Contingency Fee).

        5.      If   costs are incurred and advanced by Cimo Mazer Mark, Cimo Mazer Mark may

seek reimbursement of those costs from the estate, or any other source of payment there may be.

If the costs remain unpaid, Cimo Mazer Mark shall not     be required to further advance costs. Cimo

Mazer Mark may also apply for compensation and reimbursement of costs, pursuant to           ll   U.S.C.

$$ 330 and 331, for services rendered and costs incurred on behalf of the Responsible Person.
        Case 3:16-bk-02232-PMG             Doc 55     Filed 03/25/19       Page 16 of 24




       6.      The Court shall retain jurisdiction to hear and determine all matters arising from or

related to the implementation of this Order.

                                                ###

Submitted by:
Robert P. Charbonneau
Agentis PLLC
Co-Special Litigation Counselfor the Responsible Person
55 AlhambraPlaza, Suite 800
Coral Gables, FL 33134
305J2220Q2
rpc@agentislaw,com

Copy to: Attorney Charbonneau, who is directed to serve a copy of this order on interested
parties who do not receive service by CMIECF and file a proof of service within three days of
entry of the order.
Case 3:16-bk-02232-PMG   Doc 55    Filed 03/25/19     Page 17 of 24




                         EXHIBIT    3

                       Agentis Blackline
            (Proposed vs. Initial Employment Order)
              Case 3:16-bk-02232-PMG        Doc 55        Filed 03/25/19          Page 18 of 24




                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     Jacksonville Division
                                    www.flmb.uscourts.gov

    In re:                                                Chapter   ll
    RMS TITANIC, INC., el a/.,                            Case No.   3:I   6-bk-002232-PMG
                                                          (Jointly Adm     in istered)
                           Debtors.




    FINAL ORDER APPROVING RESPONSIBLE PERSON'S APPLICATION TO
  (D APPROVE EMPLOYMENT OF ROBERT P. CHARBONNEAU. ESO. AND THE
LAW FIRM OF AGENTIS PLLC AS SPECIAL LITIGATION COUNSEL. OD MODIFY
 THE TERMS OF SAID EMPLOYMENT. AND flID APPROVE THE TERMS OF THE
AGREEMENT BETWEEN ROBERT P. CHARBONNEAU. ESO. AND THE LAW FIRM
 OF AGENTIS PPLC AND JASON S. MAZER. ESO. AND THE LAW FIRM OF CIMO
        MAZER MARK. PLLC AS CO.SPECIAL LITIGATION COUNSEL

             THIS MATTER came before the Court for hearing on March 5. 2019 at I l:00 a.m. upon

the Responsible Person's Applicotion (I) to Approve Employment of Robert P. Charbonneau, Esq.,

and the Ltrw Firm of Agentis, PLLC, as Special Litigation Counsel to the Responsible Person; (II)

to Modify the Terms of Soid Employment; and    (III)   to Approve the Terms of the Agreement Between

Robert P. Charbonneau, Esq., and the Lmn Firm of Agentis, PLLC, andJason S. Mazer, Esq., and

the Latu Firm of Cimo Mazer Mark, PLLC, as Co-Special LitigationCounsel                  IECF#l3l2l (the

"Application").,1 and the Court, having reviewed the Application and the attachbd affidavit in

support thereol and findi                                           . and the law firm   of       s PLLC


represent no interest adverse to the Responsible Person or the estate in the matters upon which the



ICapitalized terms used but not otherwise defined herein shall have the meanings asuibed to them in
the
eharbenneau; Esq,
Respeilsible Per
dtl,e,4geernent Eehve
fasen S, M€,zet                                                                                      ion
           Case 3:16-bk-02232-PMG            Doc 55     Filed 03/25/19       Page 19 of 24




attorneys are to be engaged, that the   joint litigation of the D&O Claims by Agentis       and Cimo

Mazer Mark is in the best interests of the estate and the creditors, and that modifying the

Contingency Fee is reasonable and practical under the circumstances, is authorized to grant the

reliefrequestedintheApplicationpursuantto@328(a),and330ofthe
Bankruptcy Code and Bankruptcy Rule 2014. Based on the foregoing findings. good and sufficient

cause exists   to grant the relief set forth herein and requested in the Application, and the Court

ORDERS as follows:

          l.     The Application is GRANTED on a final basis.

          2.     The Couft approves the Responsible Person's retention of Robert P. Charbonneau,

Esq., and the law   firm of Agentis; PLLC.   as Co-Special   Litigation Counsel. Agentis is authorized

to render those same services approved in the Employment Order on behalf of the Responsible

Person.

          3.     Upon an order granting the Responsible Person's application to employ Jason S.

Mazer, Esq. and the law firm of Cimo Mazer Mark, PLLC, the Court approves the joint pursuit         of

the D&O Claims by Agentis and Cimo Mazer Mark as Co-Special Litigation Counselto prosecute,

and, if appropriate. settle the D&O Claims, as permitted under the Standing Order.

          4.     The total compensation for Co-Special Litigation Counsel shall be a forty percent

(40%) contingency fee of any insurance proceeds or other funds recovered in the pursuit of the

D&O Claims. regardless of whether Co-Special Litigation Counsel is required to take the matter

to trial. The increase of the contingency fee to forty percent (40%) from the thirty-five percent

(35%) set forth in the Employment Order shall become effective immediately.

          5.     This Court approves *gcn+isAg9[iqb and Cimo Mazer Mark's agreement to

equally share any Contingency Fee recovered in the Adversary Proceeding, regardless of how such
          Case 3:16-bk-02232-PMG                        Doc 55       Filed 03/25/19       Page 20 of 24




funds are obtained. For the avoidance of doubt, the                 40%o   contingency fee shall be divided equally

between Agentis, on the one hand (20Yo of the Contingency Fee), and Cimo Mazer Mark, on the

other hand (20%o of the Contingency Fee).

         6.      If   costs are incurred by either Agentis or Cimo Mazer Mark, those firms may seek

reimbursement of those costs from the estate or any other source of payment there may be.                     If   the

costs remain unpaid, neither firm shall be required to further advance costs. Agentis may also

apply for compensation and reimbursement of costs. pursuant to I I U.S.C. $$ 330 and 33 l. at its

ordinarly rates. as the), may be adiusted from time to time. for services rendered and costs incurred

on behalf of the Responsible Person

         7.      The Couft shall retain jurisdiction to hear and determine all matters arising from or

related to the implementation of this Order.

                                                            ###

Submitted by:
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Asentis PLLC
C o-Spe c ial Litigcttion   C ounsel   -for the   Re   sponsible   P e rson


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interested parties who do not receive service by CM/ECF and file a proof of service within three
days  ofentry ofthe order.
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                          EXHIBIT    4

                   Cimo Mazer Mark Blackline
             (Proposed vs. Initial Employment Order)
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                           UNITBD STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    Jacksonville Division
                                   www.flmb.uscourts.gov

    In re                                               Chapter I I

    RMS TITANIC, INC., et al.,                          Case  No. 3: l6-bk-002232-PMG
                                                        (Jointly Administered)
                          Debtors.

            FINAL ORDER APPROVING RESPONSIBLE PERSON'S APPLICATION
             TO APPROVE EMPLOYMENT OF JASON S. MAZER. ESO. AND THE
                LAW FIRM OF CIMO MAZER MARK, PLLC, AS CO.SPECIAL
                  LITIGATION COUNSEL TO THE RESPONSIBLE PERSON
            THIS MATTER came before the Court for hearing on March 5.2019 at ll:00 a.m. upon

the Responsible Person's     Applicationi to Apwove Emplwment

Law Firm qf Cimo Mazer Mark. PLLC. as Co-Special Litigation Counsel to the Responsible

Persol, IECF #l3l4.l (the "Application").2 and the Court, having reviewed the Application-and,

the   affidavit                                                       and finding that Jason S. Mazer,

Esq-.* and the law      firm of Cimo Mazer Mark, PLLC represent no interest adverse to             the

Responsible Person or the estate in the matters upon which the attorneys are to be engaged, and

that their employment is in the best interests of the estate and the creditors, is authorized to grant

the relief requested in the Application pursuant to Seetien$gE[slg 327(a9),328(a), and 330 of the

Bankruptcy Code and Bankruptcy Rule 2014. Based on the foregoing findings. good and sufficient

cause exists    to grant the relief set forth her,ein and requested in the Application, and the Court

ORDERS as follows:


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in the Febrcary' 5; 2819 Reryetrible Persen's , tFlieation to , tvt ove Enrplerntet# ef Jason       S,
Mazet; Esq, aftd the

2
  Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in
the February 12.2019 Application.
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        l.       The Application is GRANTED on a final basis.

        2.       The Court approves the Responsible Person's retention of Jason S. Mazer, Esq.,

and the law firm        of Cimo Mazer Mark, PLLC, as Co-Special Litigation           Counsel for the

Responsible Person.

        3.       As Co-Special Litigation Counselwith Agentis, Cimo Mazer Mark is authorized to

renderth€sffiame,!hgservicestheorderapprovingtheAgentis
Application.

       4.        +hisas Co-Special   t-iti                       Court approves equal allocation to

Agentis and Cimo Mazer Mark's agreemenFto equally share Matk of any Contingency Fee

recovered in connection with the Adversary Proceeding or D&O Claims, regardless of how such

funds are obtained. The 40Yo contingency fee shall be di+idedalpgapi[equally between Agentis,

on the one hand (20o/o of the Contingency Fee), and Cimo Mazer Mark, on the other hand (20%          of

the Contingency Fee).

        5.       CMM may. in its sole and absolute discretion. advance payment of litiqation related

costs pertaining to the Adversary Proceeding or    D&O Claims. but the bankruptcv estate shall      be

responsible for the reimbursement and/or payment of all expert witness and consulting fees and

costs. mediation fees and costs. and any and        all other normal and customarv out-of-pocket

expenses incurred in connection with the professional services provided hereunder, including but

not limited to travel. court reporter fees. printing. photocopy costs. administrative" and other costs.

as permitted.   If   costs are incurred and advanced by Cimo Mazer Mark, Cimo Mazer Mark may

seek reimbursement of those costs from the estate, or any other source of payment there may be.

If the costs remain unpaid, Cimo Mazer Mark shall not be required to further advance costs. Cimo

Mazer Mark may also apply for compensation and reimbursement of costs, pursuant to I          I U.S.C.
         Case 3:16-bk-02232-PMG                  Doc 55         Filed 03/25/19   Page 24 of 24




$$ 330 and    331,                                                                         for seryices

rendered and costs incurred on behalf of the Responsible Person.

        6.      The Court shall retain jurisdiction to hear and determine all matters arising from or

related to the implementation of this Order.

                                                      ###

Submitted by:
*+a*g=++ea+y

Asentis PLLC
C o-Spe c iql Litigation Counse l -for the   Re spons ib   le P erson




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interested parties who do not receive service by CM/ECF and file a proof of service within three
days ofentry ofthe order.
